Case 1:08-cv-00502-HG-KSC Document 86 Filed 09/16/09 Page 1 of 1      PageID #: 1188
  AO 450 (Rev. 5/85) Judgment in a Civil Case



                        UNITED STATES DISTRICT COURT

                                    DISTRICT OF HAWAII

   PATSY N. SAKUMA,                             JUDGMENT IN A CIVIL CASE

                                                Case: 1:05-CV-00502-HG-KSC
   Plaintiff(s),
                               V.

   ASSOCIATION OF CONDOMINIUM
   OWNERS OF TROPICS AT
   WAIKELE, COMMISSIONER JAMES
   S. KOMETANI.

                         Defendant(s).


  [     ]        Jury Verdict. This action came before the Court for a
                 trial by jury. The issues have been tried and the jury
                 has rendered its verdict.

  [T]            Decision by Court. This action came for consideration
                 before the Court. The issues have been considered and
                 a decision has been rendered.


          IT IS ORDERED AND ADJUDGED that this action is hereby
          DISMISSED for lack of jurisdiction, pursuant to the “Order
          Denying Plaintiff’s Amended Motion for Summary Judgment; Order
          Dismissing Case for Lack of Jurisdiction" issued by Senior
          Judge Helen Gillmor on September 15, 2009.




            September 16, 2009                           SUE BEITIA
   Date                                         Clerk

                                                     /s/ Sue Beitia by BA
                                                (By) Deputy Clerk
